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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §                Case No: 2:15-cv-01169-JRG-RSP
                                    §
vs.                                 §                LEAD CASE
                                    §
ADAMS EXTRACT                       §
                                    §
      Defendant.                    §
___________________________________ §
SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §                Case No: 2:15-cv-01183-JRG-RSP
                                    §
vs.                                 §                CONSOLIDATED CASE
                                    §
LVMH WATCH & JEWELRY USA, INC. §
                                    §
      Defendant.                    §
___________________________________ §

                  PLAINTIFF SYMBOLOGY INNOVATIONS, LLC’s ANSWER
                   TO COUNTERCLAIMS OF DEFENDANT LVMH WATCH
                                & JEWELRY USA, INC.

       Plaintiff Symbology Innovations, LLC (“Symbology”) respectfully submits this

Answer to the counterclaims asserted by LVMH Watch & Jewelry USA, Inc. (“LVMH”) in its

Answer, Affirmative Defenses, and Counterclaims to Plaintiff’s Complaint (“Answer”).

                              LVMH’S COUNTERLCLAIMS

                                           PARTIES

       1.      Symbology is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained in paragraph 1, and therefore denies the same.

       2.      Symbology admits the allegations contained in paragraph 2.

                                       JURISDICTION


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       3.      Symbology incorporates its responses to paragraphs 1-2 herein.

       4.      Symbology admits that LVMH’s counterclaims are being made under U.S.C.,

Title 35 and that jurisdiction is proper in this Court.     Symbology denies the remaining

allegations contained in paragraph 4.

       5.      Symbology admits the allegations contained in paragraph 5.

       6.      Symbology admits that venue is proper in this District. Symbology denies the

remaining allegations contained in paragraph 6.

                                          COUNT I

                DECLARATION REGARDING NON-INFRINGEMENT

       7.      Symbology incorporates its responses to paragraphs 1-6 herein.

       8.      Symbology admits that an actual controversy has arisen and now exists as to

whether LVMH infringes claim 1 of any of the ‘752, ‘369, or ‘190 Patents. Symbology denies

the remaining allegations contained in paragraph 8.

       9.      Symbology admits that LVMH seeks a declaratory judgment of non-

infringement of the ‘752, ‘369, and ‘190 Patents. Symbology denies the remaining allegations

contained in paragraph 9.

                                         COUNT II

                      DECLARATION REGARDING INVALIDITY

       10.     Symbology incorporates its responses to paragraphs 1-9 herein.

       11.     Symbology admits that an actual controversy has arisen and now exists between

the parties as to the validity of at least claim 1 of each of the ‘752, ‘369, and ‘190 Patents.

Symbology denies the remaining allegations contained in paragraph 11.

       12.     Symbology admits that LVMH seeks a declaratory judgment of invalidity of the

‘752, ‘369, and ‘190 Patents.     Symbology denies the remaining allegations contained in
                                               2
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paragraph 12.

                                   PRAYER FOR RELIEF

       To the extent that any response is required to the Prayer for Relief, Symbology denies

that LVMH is entitled to judgment or any of the relief it has requested.




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Dated: October 30, 2015                      Respectfully submitted,

                                             /s/ Jay Johnson
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                                             ATTORNEYS FOR PLAINTIFF


                                CERTIFICATE OF SERVICE

The undersigned certifies that all counsel of record who have consented to electronic service are
being served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-
5(a)(3) on October 30, 2015.

                                             /s/ Jay Johnson
                                             Jay Johnson




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